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 9                                UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
10

11   HA NGUYEN, ALEX BHAGATRAM,                      Case No. 3:23-cv-00768
     ALICIA TAYLOR, SORAYA LODIN,
12   TEYANI CISNEROS, and MICHAEL                    CLASS AND COLLECTIVE ACTION
                                                     COMPLAINT FOR:
13   WEBSTER; individuals, on behalf of
     themselves and all others similarly situated,   (1) Violations of the Fair Labor Standards Act
14                                                       (29 U.S.C. §§ 201, et seq.)
            Plaintiffs,
15                                                   (2) Failure to Pay Minimum Wages (Cal. Lab.
     vs.                                                 Code §§ 1182.12, 1194, 1194.2, 1197,
16                                                       1197.1);
17   BLOOMINGDALE’S, LLC; MACY’S,                    (3) Failure to Pay Overtime Wages (Cal. Lab.
     INC.; and DOES 1 through 100, inclusive,            Code §§ 510, 1194);
18                                                   (4) Failure to Authorize and Permit and/or
            Defendants.                                  Make Available Meal and Rest Periods
19                                                       (Cal. Lab. Code §§ 226.7, 512, 218.5, 218.6);
20                                                   (5) Failure to Provide Timely and Accurate
                                                         Itemized Wage Statements (Cal. Lab. Code
21                                                       §§ 226, 1174, 1174.5);
22                                                   (6) Failure to Reimburse Business Expenses
                                                         (Cal. Lab. Code § 2802);
23                                                   (7) Waiting Time Penalties (Cal. Lab. Code §§
                                                         201-203);
24
                                                     (8) Unlawful Business Practices (Cal. Bus. &
25                                                       Prof. Code §§ 17200, et seq.).
26                                                   DEMAND FOR JURY TRIAL
27

28


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 1                                             INTRODUCTION
 2         1.      Plaintiffs Ha Nguyen, Alex Bhagatram, Alicia Taylor, Soraya Lodin, Teyani Cisneros,
 3   and Michael Webster (“Plaintiffs”) bring this class and collective action on behalf of themselves
 4   and other similarly situated individuals against Bloomingdale’s, LLC (“Bloomingdale’s”) and
 5   Macy’s, Inc., (“Macy’s) (collectively, “Defendants”) for violations of the Fair Labor Standards Act,
 6   29 U.S.C. §§ 201, et seq. (“FLSA”) and California wage and hour laws.
 7         2.      This action stems from Defendants’ policies and practices of: (1) failing to
 8   compensate for all hours worked; (2) failing to pay minimum wage for all hours worked; (3) failing
 9   to pay overtime wages; (4) failing to authorize and permit lawful meal and rest periods, or premium
10   wages in lieu thereof; (5) failing to provide true and accurate itemized wage statements; (6) failing
11   to timely pay all wages due upon separation from employment; (7) failing to provide
12   reimbursements for business expenditures; and (8) engaging in unfair business practices.
13         3.      The Collective members are people who are or who have been employed by
14   Defendants as hourly, non-exempt employees in the United States at any time within the three years
15   preceding the filing of this Complaint.
16         4.      The Class members are people who are or who have been employed by Defendants
17   in California at any time within the four years preceding the filing of this Complaint.
18         5.      Plaintiffs seek damages, penalties, and interest to the full extent permitted by the
19   FLSA, Cal. Lab. Code, and Industrial Welfare Commission (“IWC”) Wage Orders, as well as other
20   relief requested herein.
21                                    JURISDICTION AND VENUE
22         6.      This Court has federal question jurisdiction under 28 U.S.C. § 1331 and §216(b) of
23   the FLSA. The FLSA authorizes private rights of action to recover damages for violation of the
24   FLSA’s wage and hour provisions. 29 U.S.C. § 216(b). This Court has supplemental jurisdiction
25   over the California state law claims under 28 U.S.C. § 1367(a) because they are so related to this
26   action that they form part of the same case or controversy.
27         7.      The Court has personal jurisdiction over Defendants because Defendants do business
28   in this District, and because many of the acts complained of and giving rise to the claims alleged
                                                      2
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 1   occurred in this District.
 2          8.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b). Plaintiffs
 3   were employed in this District and the claims asserted arose in this District. At all material times
 4   Defendants have been actively conducting business in the State of California and within the
 5   geographic area encompassing the Northern District of the State of California.
 6                                                PARTIES
 7          Plaintiffs
 8          9.      Plaintiff Ha Nguyen is an individual over the age of eighteen, and at all times
 9   mentioned in this Complaint was a resident of the State of California. Plaintiff was employed by
10   Defendants as a sales associate from approximately March 2019 to November 2021. Plaintiff
11   worked for Defendants in Costa Mesa, California.
12          10.     Plaintiff Alex Bhagatram is an individual over the age of eighteen, and at all times
13   mentioned in this Complaint was a resident of the State of California. Plaintiff was employed by
14   Defendants as a sales associate from approximately March 2008 to the present. Plaintiff worked for
15   Defendants in San Francisco, California.
16          11.     Plaintiff Alicia Taylor is an individual over the age of eighteen, and at all times
17   mentioned in this Complaint was a resident of the State of California. Plaintiff was employed by
18   Defendants as a sales associate from approximately 2019 to the present. Plaintiff worked for
19   Defendants in San Francisco, California.
20          12.     Plaintiff Soraya Lodin is an individual over the age of eighteen, and at all times
21   mentioned in this Complaint was a resident of the State of California. Plaintiff was employed by
22   Defendants as a sales associate from approximately November 2007 to the present. Plaintiff worked
23   for Defendants in San Francisco, California.
24          13.     Plaintiff Tyani Cisneros is an individual over the age of eighteen, and at all times
25   mentioned in this Complaint was a resident of the State of California. Plaintiff was employed by
26   Defendants as an inventory control specialist from approximately October 2019 to March 2020.
27   Plaintiff worked for Defendants in San Francisco, California.
28          14.     Plaintiff Michael Webster is an individual over the age of eighteen, and at all times
                                                      3
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 1   mentioned in this Complaint was a resident of the State of California. Plaintiff was employed by
 2   Defendants as a sales associate from approximately April 15, 2022 to the present. Plaintiff worked
 3   for Defendants in San Francisco, California.
 4         15.     Plaintiffs consent to sue for violations of the FLSA, pursuant to 29 U.S.C. § 216(b).
 5   Consent to Join for Plaintiffs Ha Nguyen, Alex Bhagatram, Alicia Taylor, Soraya Lodin, and Teyani
 6   Cisneros is attached hereto as Exhibit A.
 7         Defendants
 8         16.     Plaintiffs are informed, believe, and allege that Defendant Bloomingdale’s, LLC is
 9   an Ohio limited liability corporation headquartered in Long Island City, New York. Bloomingdale’s
10   operates retail stores throughout the United States and employs hundreds, if not thousands, of
11   hourly, non-exempt workers similarly situated to Plaintiff throughout the United States.
12         17.     Bloomingdale’s is registered to do business in California, does business in California
13   and employs and employed more than one hundred workers in California, including Plaintiffs and
14   the Class and Collective members in California.
15         18.     Plaintiffs are informed, believe, and allege that Defendant Macy’s is an American
16   conglomerate holding company that operates regional department store chains across the United
17   States and employs thousands of hourly, non-exempt workers similarly situated to Plaintiffs
18   throughout the United States.
19         19.     Macy’s is registered to do business in California, does business in California and
20   employs and employed more than one thousand workers in California, including Plaintiffs and the
21   Class and Collective members in California.
22         20.     Plaintiffs are informed, believe, and thereon allege that Defendants jointly employ
23   and/or employed Plaintiffs and Class and Collective members, among other hourly employees, in
24   this District and throughout the United States, including the State of California.
25         21.     Defendants employ and/or employed Plaintiffs and Class and Collective members
26   because Defendants, directly or indirectly, control the employment terms, pay practices,
27   timekeeping practices, and daily work of Plaintiffs and Class and Collective members.
28         22.     Plaintiffs and Class and Collective members were and are employees of Defendants
                                                       4
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 1   within the meaning of 29 U.S.C. § 203(e).
 2             23.    At all material times, Defendants have been enterprises in commerce or in the
 3   production of goods for commerce within the meaning of section 3(s)(1) of the FLSA because
 4   Defendants have had and continue to have employees engaged in commerce. 29 U.S.C. § 203(s)(1).
 5             24.    Plaintiffs are informed, believes, and thereon allege that Defendants have had, and
 6   continues to have, annual gross business volumes of not less than $500,000, thereby exceeding the
 7   statutory standard. 29 U.S.C. § 203(s)(1)(A)(ii).
 8             25.    In addition to Plaintiffs, Defendants have employed numerous other employees who,
 9   like Plaintiffs, are hourly, non-exempt employees engaged in interstate commerce.               Further,
10   Defendants are engaged in interstate commerce since they sell goods across state lines, conduct
11   business deals with merchants across state lines, and processes transactions with banks in other
12   states.
13             26.    Plaintiffs are informed, believe, and thereon allege that each and every one of the acts
14   and omissions alleged herein were performed by, and/or attributable to, Defendants, and that said
15   acts and failures to act were within the course and scope of Defendants’ agency, employment and/or
16   direction and control.
17             27.    At all material times, Plaintiffs and Class and Collective members were employees
18   who engaged in commerce or in the production of goods for commerce as required by 29 U.S.C. §
19   207.
20             28.    At all material times, Defendants have done business under the laws of California,
21   have had places of business in California, including in this District, and have employed Class and
22   Collective members in this District and elsewhere throughout California. Defendants are
23   “person(s)” as defined in Cal. Lab. Code § 18 and “employers” as that term is used in the FLSA,
24   Cal. Lab. Code, the IWC Wage Orders regulating wages, hours, and working conditions, and the
25   Cal. Bus. & Prof. Code § 17201.
26                                        FACTUAL ALLEGATIONS
27             29.    Plaintiffs are informed, believe, and thereon allege that Bloomingdale’s operates
28   luxury department stores with retail locations and employees spread across the United States,
                                                         5
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 1   including in the State of California. Bloomingdale’s employs and has employed thousands of hourly,
 2   non-exempt workers similarly situated to Plaintiffs across the United States, and employs more than
 3   one-hundred employees in the State of California, including but not limited to sales associates,
 4   seasonal associates, retail sales associates, beauty consultants, cosmetics managers, sales
 5   professionals, and other employees with similar job duties.
 6          30.      Plaintiffs are informed, believe, and thereon allege that Macy’s is an American
 7   conglomerate holding company that operates regional department store chains and employs workers
 8   across the United States, including in the State of California. Macy’s employs and has employed
 9   thousands of hourly, non-exempt workers similarly situated to Plaintiffs across the United States,
10   and employs more than one-thousand employees in the State of California, including but not limited
11   to sales associates, seasonal associates, retail sales associates, beauty consultants, cosmetics
12   managers, sales professionals, and other employees with similar job duties.
13          31.      Plaintiffs are current and former hourly, non-exempt employees of Defendants,
14   including but not limited to sales associates and inventory control specialists in Costa Mesa,
15   California and San Francisco, California. Plaintiffs’ primary duties included but were not limited to
16   communicating with potential and existing customers, selling designer clothing and accessories,
17   assisting customers within the store, and conducting counts of inventory. Although Plaintiffs’ and
18   Class and Collective members’ shifts may vary in length, they usually work seven (7) to eight (8)
19   hours per shift, five (5) shifts per week. Plaintiffs and Class and Collective members typically
20   worked approximately thirty-five (35) to forty-five (45) hours per week.
21          32.      As a matter of common policy and/or practice, Defendants regularly fail to pay
22   Plaintiffs and Class and Collective for all hours worked.1 Defendants regularly require Plaintiffs
23   and Class and Collective members to perform uncompensated and unrecorded work outside of
24   scheduled shifts. Defendants expect and require Plaintiffs and Class and Collective members to
25   constantly be on call to service the needs of current or potential customers. At the same time,
26   Defendants refuse to record this time as worked, and refuse to compensate Plaintiffs and Class and
27
     1
      Although some Plaintiffs are former employees, Class and Collective members include current and former employees.
28   For ease of discussion, the allegations herein are made in the present tense.
                                                             6
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 1   Collective members earned wages at all for this work.
 2         33.     Plaintiffs and Class and Collective members work numerous uncompensated hours
 3   off-the-clock every week calling and texting with current or potential customers to facilitate sales,
 4   calling and texting with supervisors or coworkers about work-related subjects, and attending online
 5   conferences and/or trainings to learn about new products and work policies. Defendants also
 6   automatically deduct 30 minutes from Plaintiffs and Class and Collective members’ time records
 7   for meal periods, even when they work through the meal periods or cut the meal periods short (as
 8   further discussed below). Plaintiffs and Class and Collective members consistently work 40 or more
 9   hours per week. This time spent by Plaintiffs and Class and Collective members attending online
10   conferences and trainings and communicating with customers, coworkers, and managers while off-
11   the clock amounts to between approximately five to ten hours of additional work per week done for
12   the benefit of Defendants that goes unrecorded and therefore uncompensated, including their earned
13   overtime wages. For example, during the week of March 1, 2020 to March 7, 2020, Plaintiff Ha
14   Nguyen worked over 40 hours but did not receive payment for her time spent calling and/or texting
15   with customers, supervisors, and coworkers while off-the-clock, or for time spent working while
16   clocked out for meal periods. This time should have been paid at the overtime rates required by the
17   FLSA and California law.
18         34.     As a matter of common policy and/or practice, for any overtime work that Defendants
19   do record, Defendants fail to pay Plaintiffs and Class and Collective members their full earned
20   overtime wages because Defendants incorrectly calculate overtime wages using lower base hourly
21   rates instead of regular rates, as required by the FLSA and California law. Plaintiffs and Class and
22   Collective members earn commission based on the sales that they make to customers. Defendants
23   do not factor in commission pay when calculating the regular rate for Plaintiffs’ and Class and
24   Collective members’ overtime payments.
25         35.     Plaintiffs are informed, believe, and thereon allege that Defendants utilize the same
26   or substantially similar timekeeping and compensation practices and mechanisms throughout the
27   United States, including California.
28         36.     As a matter of common policy and/or practice, Defendants regularly require Plaintiffs
                                                      7
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 1   and Class members to work during meal and rest periods. Defendants’ policies, practices, and
 2   procedures require Plaintiffs and Class members to adhere to a demanding level of customer service,
 3   causing them to constantly remain on-duty to facilitate sales and address the needs of customers.
 4   This causes Plaintiffs and Class members to incessantly work through their meal and rest periods,
 5   or cut their meal and rest periods short. With respect to meal periods, Defendants adjust Plaintiffs’
 6   and Class and Collective members’ timesheets to show that they took a timely 30-minute meal break
 7   even when such periods have been late or worked through entirely.
 8          37.     Plaintiffs and Class members are routinely denied compliant meal periods because,
 9   due to Defendants’ high expectations for Plaintiffs and Class members to provide quality customer
10   service, Defendants demand that Plaintiffs and Class and Collective members remain available
11   during, cut short, or work through their meal periods to help with customers in person; and Plaintiffs
12   and Class and Collective members are required to call and/or text with prospective and/or current
13   customers during their meal periods to increase sales.
14          38.     When Plaintiffs and Class members do attempt a meal period, such are untimely,
15   shortened, and interrupted i.e., after the end of the fifth hour of work and/or less than thirty minutes.
16   As a result, Plaintiffs and Class members are not provided duty-free, uninterrupted, and timely
17   thirty-minute meal periods during which they should be completely relieved of any duty by the end
18   of the fifth hour of work.
19          39.     Similarly, Plaintiffs and Class members are routinely denied compliant rest periods.
20   Much like the reasons that Plaintiffs and Class members are denied compliant meal periods,
21   Plaintiffs and Class members do not receive compliant rest periods because Defendants require that
22   Plaintiffs and Class members remain available during rest periods to assist customers, Defendants
23   interrupt rest periods to advise Plaintiffs and Class members to help with customers in-store, and
24   Plaintiffs and Class members are often required to call and/or text prospective customers during
25   their rest periods to facilitate sales.
26          40.     Further, as a matter of common policy and/or practice, Defendants fail to provide
27   Plaintiffs and Class members with earned premium wages in lieu of compliant meal and rest
28   periods. In the rare instance that Plaintiffs and Class members do receive meal and rest premiums,
                                                        8
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 1   Defendants incorrectly use employees’ hourly rates instead of their regular rates, as required under
 2   the law, to calculate and provide premium payments in lieu of compliant meal periods, As
 3   mentioned above, Defendants do not include commission when calculating the regular rates of
 4   Plaintiffs and Class members. As a result, Defendants systematically underpay Plaintiffs and Class
 5   members for their earned premium wages.
 6         41.      Plaintiffs are informed, believe, and thereon allege that Defendants utilize and apply
 7   these meal and rest break policies and practices across all Defendants’ facilities throughout
 8   California.
 9         42.      Further, as mentioned above, Defendants require Plaintiffs and Class and Collective
10   members to clock out for thirty-minute meal periods that they must constantly work through. This
11   policy results in Plaintiffs and Class and Collective members working substantial time off-the-
12   clock. Defendants’ policy causes Plaintiffs and Class and Collective members to complete work for
13   the benefit of Defendants without any compensation.
14         43.      Defendants’ common course of wage-and-hour abuse also includes routinely failing
15   to maintain true and accurate records of the hours worked by Plaintiffs and Class members.
16         44.      As a result of the aforementioned violations, Plaintiffs and Class members are
17   provided with untrue and inaccurate wage statements as such statements do not reflect the correct
18   amount of gross and net wages earned, including overtime premiums and premium payments for
19   missed and noncompliant meal and rest periods to which they are entitled, nor the correct total hours
20   worked by the employee.
21         45.      As a matter of common policy and/or practice, Defendants fail to provide Plaintiffs
22   and Class members reimbursement for all necessary expenditures or losses incurred by Plaintiffs
23   and Class members in direct consequence of the discharge of their duties, or as a result of their
24   obedience to the directions of Defendant. Plaintiffs and Class members are required to use their
25   personal cell phones for all work-related communications without reimbursement. Plaintiffs and
26   Class members are constantly required to use their personal cell phones to communicate with
27   managers, coworkers and customers, and to look up information about Defendants’ products to
28   facilitate sales. At no time have Defendants reimbursed Plaintiffs and Class members for the use
                                                       9
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 1   of their personal cell phones, which are routinely used for the benefit of Defendants in the discharge
 2   of their job duties. Plaintiffs and Class members are further required to use their personal computers
 3   and internet data to attend online conferences and trainings as mandated by Defendants. Defendants
 4   do not reimburse Plaintiffs and Class members for the use of their personal computers and/or
 5   internet data plans that are utilized for these work-related functions.
 6             46.    Additionally, Plaintiffs and Class members do not receive all wages during
 7   employment and following separation from employment, including payment for time spent working
 8   off the clock and during meal periods, as well as premium wages for noncompliant meal and rest
 9   periods.
10             47.    Class and Collective members are employed by Defendants and perform work
11   materially similar to Plaintiffs.
12             48.    Class and Collective members perform their jobs under Defendants’ supervision
13   using materials and resources approved and supplied by Defendants.
14             49.    Class and Collective members are required to follow and abide by Defendants’
15   common work, time, and pay policies and procedures in the performance of their jobs.
16             50.    At the end of each pay period, Class and Collective members receive wages from
17   Defendants that are determined by common systems and methods that Defendants select and
18   control.
19             51.    Defendants’ methods of paying Plaintiffs and Class and Collective members are
20   willful and not based on a good faith and reasonable belief that their conduct complies with the
21   FLSA and/or California law.
22             52.    Defendants’ unlawful conduct has been widespread, repeated, and consistent among
23   Defendants’ employees.
24             53.    Defendants know or should know that their policies and practices are unlawful and
25   unfair.
26             54.    Defendants’ conduct is willful, carried out in bad faith, and causes significant
27   damages to employees in an amount to be determined at trial.
28
                                                        10
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 1                   COLLECTIVE ACTION ALLEGATIONS UNDER THE FLSA
 2          55.     Plaintiffs reallege and incorporate the foregoing paragraphs as though fully set forth
 3   herein.
 4          56.     Plaintiffs bring this Complaint as a collective action pursuant to 29 U.S.C. § 216(b)
 5   on behalf of the following collective of individuals:
 6          All current and former hourly, non-exempt employees employed by Defendants
            Bloomingdale’s, LLC and Macy’s, Inc. in the United States any time starting
 7          three years prior to the filing of this Complaint until resolution of this action.

 8          57.     Plaintiffs’ claims for violations of the FLSA may be brought and maintained as an
 9   “opt-in” collective action pursuant to Section 216(b) of the FLSA because Plaintiffs’ FLSA claims
10   are similar to the claims of the Collective members.
11          58.     Plaintiffs are informed, believe, and thereon allege that Collective members have
12   been denied compensation, including minimum wages and overtime wages, and would therefore
13   likely join this collective action if provided a notice of their rights to do.
14          59.     Plaintiffs and the Collective members are similarly situated and Plaintiffs’ and
15   Collective members’ claims arise from a common nucleus of operative facts. Collective Members
16   have substantially similar job duties and requirements. Like Plaintiffs, Defendants subjected
17   Collective members to Defendants’ common practices, policies, or plans that require them to
18   perform work without compensation in clear violation of the FLSA. Defendants require Collective
19   Members to work for Defendants without paying them overtime wages, or at least minimum wages.
20   When Defendants paid overtime wages, Defendants unlawfully paid overtime wages at the rate of
21   one and one-half times the hourly rate rather than the regular rate. Defendants’ failure to pay
22   minimum wages or overtime wages as required by the FLSA resulted from generally applicable
23   policies and practices and did not depend on the personal circumstances of FLSA Collective
24   members.
25          60.     This action may be properly maintained as a collective action on behalf of the defined
26   Collective because, throughout the relevant time period:
27                  a. Defendants maintained common scheduling systems and policies with respect to
28                      Plaintiffs and Collective members, controlled the scheduling systems and policies
                                                         11
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 1                         implemented for Plaintiffs and Collective members, and retained authority to
 2                         review and revise or approve the schedules assigned to Plaintiffs and Collective
 3                         members;
 4                    b. Defendants maintained common timekeeping systems and policies with respect
 5                         to Plaintiffs and Collective members;
 6                    c. Defendants maintained common payroll systems and policies with respect to
 7                         Plaintiffs and Collective members, controlled the payroll systems and policies
 8                         applied to Plaintiffs and Collective members, and set the pay rates assigned to
 9                         Plaintiffs and Collective members; and
10                    d. Defendants maintained common policies, practices, and procedures that required
11                         Plaintiffs and Collective members to perform work while off-the-clock, work that
12                         when accounted for should have been paid at overtime rates.
13         61.        The similarly situated Collective members are known to Defendants, are readily
14   identifiable, and may be located through Defendants’ records. These similarly situated employees
15   may readily be notified of this action and allowed to “opt-in” to this case pursuant to 29 U.S.C. §
16   216(b) for the purpose of collectively adjudicating their claims for unpaid wages, liquidated
17   damages (or, alternatively, interest), and attorneys’ fees and costs under the FLSA.
18                                RULE 23 CLASS ACTION ALLEGATIONS
19         62.        Plaintiffs bring causes of action as a class action on behalf of themselves and the
20   putative Class pursuant to Federal Rule of Civil Procedure 23(a) and (b)(3). The Class that Plaintiffs
21   seek to represent is defined as follows:
22         All current and former employees of Defendants throughout California who
           worked for Defendants at any time during the time period starting four years
23         prior to the filing of this Complaint until the resolution of this action (the
           “Class”).
24

25         63.        This action has been brought and may properly be maintained as a class action
26   because there is a well-defined community of interest in the litigation and the Class is easily
27   ascertainable.
28                    a.    Numerosity: The potential Members of the class are so numerous that joinder
                                                         12
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 1               of all the Members of the Class is impracticable. Plaintiffs are informed and
 2               believes that the number of Class Members exceeds 100. This volume makes
 3               bringing the claims of each individual member of the Class before this Court
 4               impracticable. Likewise, joining each individual member of the Class as a
 5               plaintiff in this action is impracticable. Furthermore, the identities of the Class
 6               will be determined from Defendants’ records, as will the compensation paid to
 7               each of them. As such, a class action is a reasonable and practical means of
 8               resolving these claims. To require individual actions would prejudice the Class
 9               and Defendants.
10          b.   Commonality: There are questions of law and fact common to Plaintiffs and
11               the Class that predominate over any questions affecting only individual
12               members of the Class. These common questions of law and fact include, but
13               are not limited to:
14                   i.   Whether Defendants fails to compensate Class members for all hours
15                        worked, including at minimum wage and as overtime compensation, in
16                        violation of the Cal. Lab. Code and Wage Orders;
17                  ii.   Whether Defendants have a policy and/or practice of requiring Class
18                        members to be in the control of Defendants, spend time primarily for
19                        the benefit of Defendants, and work for Defendants off-the-clock and
20                        without compensation;
21                 iii.   Whether Defendants fail to authorize and permit, make available,
22                        and/or provide Class members with compliant meal and/or rest periods
23                        to which they are entitled in violation of the Cal. Lab. Code and Wage
24                        Orders;
25                 iv.    Whether Defendants fail to provide Class members with timely,
26                        accurate itemized wage statements in violation of the Cal. Lab. Code
27                        and Wage Orders;
28                  v.    Whether Defendants fail to fully reimburse Class members with all
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 1                       necessary business expenses incurred for the benefit of Defendants, in
 2                       violation of the Cal. Lab. Code;
 3                 vi.   Whether Defendants fail to timely pay Class members for all wages
 4                       owed upon termination of employment.
 5                vii.   Whether Defendants violates Cal. Bus. & Prof. Code §§ 17200, et seq.,
 6                       by:
 7                        (a) failing to compensate Class members for all hours worked,
 8                             including at minimum wage and at overtime rate wage
 9                             compensation;
10                        (b) failing to authorize and permit, make available, and/or provide
11                             Class members with compliant meal and/or rest periods to which
12                             they are entitled;
13                        (c) failing to provide Class members with timely, accurate itemized
14                             wage statements;
15                        (d) failing to fully reimburse Plaintiffs and Class members for all
16                             necessary business expenses made for the benefit of Defendants;
17                             and
18                        (e) failing to timely pay Plaintiffs and Class members for all wages
19                             owed upon termination of employment.
20               viii.   The proper formula for calculating restitution, damages, and penalties
21                       owed to Plaintiffs and the Class as alleged herein.
22          c.   Typicality: Plaintiffs’ claims are typical of the claims of the Class. Defendants’
23               common course of conduct in violation of law as alleged herein has caused
24               Plaintiffs and Class members to sustain the same or similar injuries and
25               damages. Plaintiffs’ claims are thereby representative of and co-extensive with
26               the claims of the Class.
27          d.   Adequacy of Representation: Plaintiffs are members of the Class, do not have
28               any conflicts of interest with other Class members, and will prosecute the case
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 1                       vigorously on behalf of the Class. Counsel representing Plaintiffs is competent
 2                       and experienced in litigating large employment class actions, including wage
 3                       and hour cases. Plaintiffs will fairly and adequately represent and protect the
 4                       interests of the Class members.
 5                 e.    Superiority of Class Action: A class action is superior to other available means
 6                       for the fair and efficient adjudication of this controversy. Individual joinder of
 7                       all Class members is not practicable, and questions of law and fact common to
 8                       the Class predominate over any questions affecting only individual members of
 9                       the Class. Each Class member has been damaged and is entitled to recovery by
10                       reason of Defendants’ illegal policies and/or practices. Class action treatment
11                       will allow those similarly situated persons to litigate their claims in the manner
12                       that is most efficient and economical for the parties and the judicial system.
13          64.    The Class may also be certified because the prosecution of separate actions by the
14   individual members of the Class would create a risk of inconsistent or varying adjudication with
15   respect to individual members of the Class, and, in turn, would establish incompatible standards of
16   conduct for Defendants.
17          65.    If each individual Class member were required to file an individual lawsuit,
18   Defendants would necessarily gain an unconscionable advantage because Defendants would be able
19   to exploit and overwhelm the limited resources of each member of the Class with Defendants’ vastly
20   superior financial legal resources.
21          66.    Requiring each individual Class member to pursue an individual remedy would also
22   discourage the assertion of lawful claims by the Class members who would be disinclined to pursue
23   these claims against Defendants because of an appreciable and justifiable fear of retaliation and
24   permanent damage to their lives, careers, and well-being.
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 1                                     FIRST CAUSE OF ACTION
 2                              Violation of the Fair Labor Standards Act
 3                                 Pursuant to 29 U.S.C. §§ 201, et seq.
 4                                     (On Behalf of the Collective)
 5         67.     Plaintiffs reallege and incorporate the foregoing paragraphs as though fully set forth
 6   herein.
 7         68.     As a matter of common policy and/or practice, Defendants regularly fail to pay
 8   Plaintiffs and Collective members the legally mandated overtime premium of not less than one and
 9   one-half times the regular rate of pay for all hours worked in excess of forty hours in a workweek.
10   Defendants regularly require Plaintiffs and Collective members to perform uncompensated and
11   unrecorded work outside of scheduled shifts. Defendants expect and require Plaintiffs and
12   Collective members to constantly be on call to service the needs of current or potential customers.
13   At the same time, Defendants refuse to record this time as worked, and refuse to compensate
14   Plaintiffs and Collective members earned wages at all for this work.
15         69.     Plaintiff and Collective members work numerous uncompensated hours off-the-clock
16   every week calling and texting with current or potential customers to facilitate sales, calling and
17   texting with supervisors or coworkers about work-related subjects, and attending online conferences
18   and/or trainings to learn about new products and work policies. Defendants also automatically
19   deduct 30 minutes from Plaintiffs and Collective members’ time records for meal periods, even
20   though they are constantly on-call, and consistently work through the meal periods or have to cut
21   the meal periods short to assist customers. Plaintiffs and Collective members consistently work 40
22   or more hours per week. This time spent by Plaintiffs and Collective members attending online
23   conferences and trainings and communicating with customers, coworkers, and managers while off-
24   the clock amounts to between approximately five to ten hours of additional work per week done for
25   the benefit of Defendants that goes unrecorded and therefore uncompensated, including their earned
26   overtime wages.
27         70.     As a matter of common policy and/or practice, for any overtime work that Defendants
28   do record, Defendants fail to pay Plaintiffs and Collective members their full earned overtime wages
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 1   because Defendants incorrectly calculate overtime wages using lower base hourly rates instead of
 2   regular rates, as required by the FLSA. Plaintiffs and Collective members earn commission based
 3   on the sales that they make to customers. Defendants do not factor in commission pay when
 4   calculating the regular rate for Plaintiffs’ and Collective members’ overtime payments.
 5         71.     The FLSA requires that covered employees receive overtime compensation of not
 6   less than one and one-half times the regular rate of pay for all hours worked in excess of forty hours
 7   in a workweek. 29 U.S.C. §§ 206(a)(1), 207(a)(1).
 8         72.     At all times material herein, Plaintiffs and the Collective are covered employees
 9   entitled to the rights, protections, and benefits provided under the FLSA. 29 U.S.C. §§ 203(e) and
10   207(a).
11         73.     Defendants are covered employers required to comply with the FLSA’s mandates.
12         74.     Defendants have violated the FLSA with respect to Plaintiffs and the Collective, by,
13   inter alia, failing to compensate Plaintiffs and the Collective for all hours worked and, with respect
14   to such hours, failing to pay the legally mandated overtime premium for such work and/or minimum
15   wage. Defendants have also violated the FLSA by failing to keep required, accurate records of all
16   hours worked by Plaintiffs and the Collective. 29 U.S.C. § 211(c).
17         75.     Plaintiffs and the Collective are victims of a uniform and company-wide
18   compensation policy that has been applied to current and former non-exempt, hourly employees of
19   Defendants, working throughout the United States.
20         76.     Plaintiffs and the Collective are entitled to damages equal to the mandated pay,
21   including minimum wage, straight time, and overtime premium pay within the three years preceding
22   the filing of the complaint, plus periods of equitable tolling, because Defendants have acted
23   willfully and knew or showed reckless disregard for whether the alleged conduct was prohibited by
24   the FLSA.
25         77.     Defendants have acted neither in good faith nor with reasonable grounds to believe
26   that its actions and omissions were not a violation of the FLSA, and as a result thereof, Plaintiffs
27   and the Collective are entitled to recover an award of liquidated damages in an amount equal to the
28   amount of unpaid overtime pay and/or prejudgment interest at the applicable rate. 29 U.S.C. §
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 1   216(b).
 2         78.     Pay, including straight time and overtime compensation, has been unlawfully
 3   withheld by Defendants from Plaintiffs and the Collective as a result of Defendants’ violations of
 4   the FLSA. Accordingly, Defendants are liable for unpaid wages, together with an amount equal as
 5   liquidated damages, attorneys’ fees, and costs of this action.
 6         79.     Wherefore, Plaintiffs and the Collective request relief as hereinafter provided.
 7                                    SECOND CAUSE OF ACTION
 8                                    Failure to Pay Minimum Wages
 9                 Pursuant Cal. Lab. Code §§ 1182.12, 1194, 1194.2, 1197, and 1197.1
10                                        (On Behalf of the Class)
11         80.     Plaintiffs reallege and incorporate the foregoing paragraphs as though fully set forth
12   herein.
13         81.     As a matter of common policy and/or practice, Defendants regularly fail to pay
14   Plaintiffs and Class members at least minimum wage for all hours worked. Defendants regularly
15   require Plaintiffs and Class members to perform uncompensated and unrecorded work, outside of
16   scheduled shifts, and while off-the-clock during meal periods. Plaintiffs and Class members work
17   numerous uncompensated hours off-the-clock every week calling and texting with current or
18   potential customers to facilitate sales, calling and texting with supervisors or coworkers about work-
19   related subjects, and attending online conferences and/or trainings to learn about new products and
20   work policies. At the same time, Defendants refuse to record this time as worked, and refuse to
21   compensate Plaintiffs and Class members earned wages at all for this work.
22         82.     During the applicable statutory period, Cal. Lab. Code §§ 1182.12 and 1197, and the
23   Minimum Wage Order were in full force and effect, and required that Defendants’ hourly employees
24   receive the minimum wage for all hours worked irrespective of whether nominally paid on a piece
25   rate, or any other basis, at the rate of eleven dollars ($11.00) per hour commencing January 1, 2018;
26   at the rate of twelve dollars ($12.00) per hour commencing January 1, 2019; at the rate of thirteen
27   dollars ($13.00) per hour commencing January 1, 2020; at the rate of fourteen dollars ($14.00)
28   commencing January 1, 2021; and at the rate of fifteen dollars ($15.00) commencing January 1,
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 1   2022.
 2           83.    Cal. Lab. Code §1194 states:
 3           Notwithstanding any agreement to work for a lesser wage, any employee receiving
             less than the legal minimum wage or the legal overtime compensation applicable to
 4           the employee is entitled to recover in a civil action the unpaid balance of the full
             amount of this minimum wage or overtime compensation, including interest thereon,
 5           reasonable attorney’s fees, and costs of suit.

 6           84.    IWC Wage Order 7-2001(2)(G) defines hours worked as “the time during which an
 7   employee is subject to the control of an employer and includes all the time the employee is suffered
 8   or permitted to work, whether or not required to do so.”
 9           85.    Cal. Lab. Code §1194.2 provides that, in any action under Section 1194 to recover
10   wages because of the payment of a wage less than minimum wage fixed by an order of the
11   commission, an employee shall be entitled to recover liquidated damages in an amount equal to the
12   wages unlawfully unpaid and interest thereon.
13           86.    Cal. Lab. Code §1197.1 provides statutory penalties which may be recovered “in
14   addition to an amount sufficient to recover underpaid wages, liquidated damages pursuant to
15   Section 1194.2, and any applicable penalties imposed pursuant to Section 203,” which “shall be
16   paid to the affected employee.”
17           87.    Defendants maintained policies and procedures which create a working environment
18   where hourly employees are routinely compensated at a rate that is less than the statutory minimum
19   wage. Plaintiffs and Class members routinely work time off-the-clock without compensation. For
20   instance, Plaintiffs and Class members are not compensated for time spent working during meal
21   breaks that Defendant requires them to clock out during, for time spent attending online trainings
22   and conferences, or for time spent speaking with customers, supervisors, and coworkers while off-
23   the clock.
24           88.    As a direct and proximate result of the unlawful acts and/or omissions of Defendants,
25   Plaintiffs and Class members have been deprived of minimum wages in an amount to be determined
26   at trial, and are entitled to a recovery of such amount, plus liquidated damages, plus interest thereon,
27   attorneys’ fees, and costs of suit pursuant to Cal. Lab. Code §§ 1194, 1194.2 and 1197.1.
28           89.    Wherefore, Plaintiffs and the Class request relief as hereinafter provided.
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 1                                     THIRD CAUSE OF ACTION
 2                                    Failure to Pay Overtime Wages
 3                               Pursuant to Cal. Lab. Code §§ 510, 1194
 4                                        (On Behalf of the Class)
 5         90.     Plaintiffs reallege and incorporate the foregoing paragraphs as though fully set forth
 6   herein.
 7         91.     Defendants do not compensate Plaintiffs and Class members with the appropriate
 8   overtime rate, as required by California law.
 9         92.     Cal. Lab. Code § 510 provides, in pertinent part, that:
10         Eight hours of labor constitutes a day’s work. Any work in excess of eight hours in
           one workday and any work in excess of 40 hours in any one workweek and the first
11         eight hours worked on the seventh day of work in any one workweek shall be
           compensated at the rate of no less than one and one-half times the regular rate of pay
12         for an employee. Any work in excess of 12 hours in one day shall be compensated at
           the rate of no less than twice the regular rate of pay for an employee. In addition, any
13         work in excess of eight hours on any seventh day of a workweek shall be compensated
           at the rate of no less than twice the regular rate of pay of an employee.
14

15         93.     The IWC Wage Order 7-2001(3)(A)(1) states:
16         The following overtime provisions are applicable … employees shall not be employed
           more than eight (8) hours in any workday or more than 40 hours in any workweek
17         unless the employee receives one and one-half (1 ½) times such employee’s regular
           rate of pay for all hours worked over 40 hours in the workweek. Eight (8) hours of
18         labor constitutes a day’s work. Employment beyond eight (8) hours in any workday or
           more than six (6) days in any workweek is permissible provided the employee is
19         compensated for such overtime at not less than: . . . One and one-half (1 ½) times the
           employee’s regular rate of pay for all hours worked in excess of eight (8) hours up
20         to and including 12 hours in any workday, and for the first eight (8) hours worked on
           the seventh (7th) consecutive day of work in a workweek; and … [d]ouble the
21         employee’s regular rate of pay for all hours worked in excess of 12 hours in any
           workday and for all hours worked in excess of eight (8) hours on the seventh (7th)
22         consecutive day of work in a workweek.

23         94.     Cal. Lab. Code § 1194(a) provides that:
24         Notwithstanding any agreement to work for a lesser wage, any employee receiving
           less than the legal minimum wage or the legal overtime compensation applicable to
25         the employee is entitled to recover in a civil action the unpaid balance of the full
           amount of this minimum wage or overtime compensation, including interest thereon,
26         reasonable attorneys’ fees, and costs of suit.

27         95.     Cal. Lab. Code § 200 defines wages as “all amounts for labor performed by
28   employees of every description, whether the amount is fixed or ascertained by the standard of time,
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 1   task, piece, commission basis or other method of calculation.” (Emphasis added). All such wages
 2   are subject to California’s overtime requirements, including those set forth above.
 3          96.     Defendants regularly do not compensate Plaintiffs and Class members for their
 4   overtime hours. For instance, Plaintiffs and Class members do not receive overtime compensation
 5   for time spent communicating with supervisors and customers outside of their scheduled shifts, for
 6   time spent attending online trainings and conferences while off-the-clock, or for time spent working
 7   during noncompliant meal periods when the hours worked are in excess of eight (8) hours per day
 8   and forty (40) hours per week.
 9          97.     Further, when Defendants do issue overtime wages, Defendants incorrectly use
10   employees’ hourly rates instead of their regular rates to calculate and pay overtime as required by
11   the California law. In addition to wages based on their hourly rate, Plaintiffs and Class members
12   earn commission based on sales that they procure. Defendants do not factor in commission pay
13   when calculating the regular rate for Plaintiffs’ and Class members’ overtime payments.
14          98.     Plaintiffs and Class members work overtime hours for Defendants without being paid
15   overtime premiums in violation of the Cal. Lab. Code, applicable IWC Wage Orders, and other
16   applicable law.
17          99.     Defendants have knowingly and willfully refused to perform their obligation to
18   provide Plaintiffs and Class members with premium wages for all overtime work. As a proximate
19   result of the aforementioned violations, Defendants have damaged Plaintiffs and Class members in
20   amounts to be determined according to proof at time of trial.
21          100.    Defendants are liable to Plaintiffs and Class members alleged herein for the unpaid
22   overtime and civil penalties, with interest thereon. Furthermore, Plaintiffs and Class members are
23   entitled to an award of attorneys’ fees and costs as set forth below.
24          101.    Wherefore, Plaintiffs and the Class request relief as hereinafter provided.
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 1                                      FOURTH CAUSE OF ACTION
 2             Failure to Authorize and Permit and/or Make Available Meal and Rest Periods
 3                                Pursuant to Cal. Lab. Code §§ 226.7 and 512
 4                                         (On Behalf of the Class)
 5          102.     Plaintiffs reallege and incorporate the foregoing paragraphs as though fully set forth
 6   herein.
 7          103.     As a matter of common policy and/or practice, Defendants regularly require Plaintiffs
 8   and Class members to work during meal and rest periods. Defendants’ policies, practices, and
 9   procedures require Plaintiffs and Class members to adhere to a demanding level of customer service
10   causing them to constantly remain on-duty to facilitate sales and address the needs of customers.
11   This causes Plaintiffs and Class members to work through their meal and rest periods, or cut their
12   meal and rest periods short. With respect to meal periods, despite failing to provide compliant meal
13   periods, Defendants adjust Plaintiffs’ and Class members’ timesheets to show that they took a timely
14   compliant 30-minute meal break.
15          104.     Plaintiffs and Class members are routinely denied compliant meal periods because,
16   due to Defendants’ high expectations for Plaintiffs and Class members to provide quality customer
17   service, Defendants demand that Plaintiffs and Class members remain available during, cut short,
18   or work through their meal periods to help with customers in person; and Plaintiffs and Class
19   members are required to call and/or text with prospective and/or current customers during their
20   meal periods to increase sales.
21          105.     When Plaintiffs and Class members do attempt a meal period, such are untimely,
22   shortened, and interrupted i.e., after the end of the fifth hour of work and/or less than thirty minutes.
23   As a result, Plaintiffs and Class members are not provided duty-free, uninterrupted, and timely
24   thirty-minute meal periods during which they should be completely relieved of any duty by the end
25   of the fifth hour of work.
26          106.     Similarly, Plaintiffs and Class members are routinely denied compliant rest periods.
27   Much like the reasons that Plaintiffs and Class members are denied compliant meal periods,
28   Plaintiffs and Class members do not receive compliant rest periods because Defendants require that
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 1   Plaintiffs and Class members remain available during rest periods to assist customers, Defendants
 2   interrupt rest periods to advise Plaintiffs and Class members to help with customers in-store, and
 3   Plaintiffs and Class members are often required to call and/or text prospective customers during
 4   their rest periods to facilitate sales.
 5          107.    Further, Defendants fail to provide Plaintiffs and Class members with earned
 6   premium wages in lieu of compliant meal and rest periods. In the rare instance that Plaintiffs and
 7   Class members do receive meal and rest premiums, Defendants incorrectly use employees’ hourly
 8   rates instead of their regular rates, as required under the law, to calculate and provide premium
 9   payments in lieu of compliant meal periods, As mentioned above, Defendants do not include
10   commission when calculating the regular rates of Plaintiffs and Class members. As a result,
11   Defendants systematically underpay Plaintiffs and Class members for their earned premium wages.
12          108.    Cal. Lab. Code §§ 226.7 and 512 and the applicable Wage Orders require Defendants
13   to authorize and permit meal and rest periods to its employees.
14          109.    Cal. Lab. Code §§ 226.7 and 512 and the applicable Wage Orders prohibit employers
15   from employing an employee for more than five (5) hours without a meal period of not less than
16   thirty minutes, and from employing an employee more than ten (10) hours per day without
17   providing the employee with a second meal period of not less than thirty minutes. Unless the
18   employee is relieved of all duty during the thirty-minute meal period, the employee is considered
19   “on duty” and the meal period is counted as time worked under the applicable Wage Orders. Under
20   Cal. Lab. Code § 226.7(b) and the applicable Wage Orders, an employer who fails to authorize,
21   permit, and/or make available a required meal period must, as compensation, pay the employee one
22   (1) hour of pay at the employee’s regular rate of compensation for each workday that the meal
23   period was not authorized and permitted.
24          110.    Cal. Lab. Code § 226.7 and the applicable Wage Orders require employers to provide
25   ten (10) minutes net rest time per four (4) hours or major fraction thereof to its employees. During
26   these rest periods, an employer must relieve employees of all duties during rest periods and
27   relinquish any control over how employees spend their break time. Under Cal. Lab. Code § 226.7(b)
28   and the applicable Wage Orders, an employer who fails to authorize, permit, and/or make available
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 1   a required rest period must, as compensation, pay the employee one (1) hour of pay at the
 2   employee’s regular rate of compensation for each workday that the rest period was not authorized
 3   and permitted.
 4          111.    Despite these requirements, Defendants have knowingly and willfully refused to
 5   perform their obligations to authorize and permit and/or make available to Plaintiffs and Class
 6   members the ability to take the meal and rest periods to which they are entitled.
 7          112.    Therefore, pursuant to Cal. Lab. Code § 226.7(b), and §§218.5 and 218.6, Plaintiffs
 8   and Class members are entitled to compensation for the failure to authorize and permit and/or make
 9   available meal and rest periods, plus interest, attorneys’ fees, expenses and costs of suit.
10          113.    As a proximate result of the aforementioned violations, Plaintiffs and Class members
11   have been damaged in an amount according to proof at time of trial.
12          114.    Wherefore, Plaintiffs and the Class request relief as hereinafter provided.
13                                      FIFTH CAUSE OF ACTION
14                        Failure to Provide Accurate Itemized Wage Statements
15                            Pursuant to Cal. Lab. Code §§ 226, 1174, 1174.5
16                                         (On Behalf of the Class)
17          115.    Plaintiffs reallege and incorporate the foregoing paragraphs as though fully set forth
18   herein.
19          116.    Defendants do not provide Plaintiffs and Class members with accurate itemized wage
20   statements as required by California law.
21          117.    Cal. Lab. Code § 226(a) provides that:
22          Every employer shall, semimonthly or at the time of each payment of wages, furnish
            each of his or her employees, either as a detachable part of the check, draft, or voucher
23          paying the employee’s wages, or separately when wages are paid by personal check
            or cash, an accurate itemized statement in writing showing (1) gross wages earned, (2)
24          total hours worked by the employee, except for any employee whose compensation is
            solely based on a salary and who is exempt from payment of overtime under
25          subdivision (a) of Section 515 or any applicable order of the Industrial Welfare
            Commission, (3) the number of piece-rate units earned and any applicable piece rate
26          if the employee is paid on a piece-rate basis, (4) all deductions, provided that all
            deductions made on written orders of the employee may be aggregated and shown as
27          one item, (5) net wages earned, (6) the inclusive dates of the period for which the
            employee is paid, (7) the name of the employee and his or her social security number,
28          (8) the name and address of the legal entity that is the employer, and (9) all applicable
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              hourly rates in effect during the pay period and the corresponding number of hours
 1            worked at each hourly rate by the employee. The deductions made from payments of
              wages shall be recorded in ink or other indelible form, properly dated, showing the
 2            month, day, and year, and a copy of the statement or a record of the deductions shall
              be kept on file by the employer for at least four years at the place of employment or at
 3            a central location within the State of California.
 4            118.    The IWC Wage Orders also establishes this requirement. (See IWC Wage Orders 7-
 5   2001.)
 6            119.    Cal. Lab. Code § 226(e) provides:
 7            An employee suffering injury as a result of a knowing and intentional failure by an
              employer to comply with subdivision (a) is entitled to recover the greater of all actual
 8            damages or fifty dollars ($50) for the initial pay period in which a violation occurs and
              one hundred dollars ($100) per employee for each violation in a subsequent pay
 9            period, not exceeding an aggregate penalty of four thousand dollars ($4,000) and is
              entitled to an award of costs and reasonable attorney’s fees.
10

11            120.    Defendants do not provide timely, accurate itemized wage statements to Plaintiffs
12   and Class members in accordance with Cal. Lab. Code § 226(a) and the IWC Wage Orders. As a
13   result of the aforementioned violations, the wage statements Defendants provide their employees,
14   including Plaintiffs and Class members, do not accurately reflect all hours actually worked, actual
15   gross wages earned and/or actual net wages earned, including minimum wages and overtime. In
16   addition, the wage statements Defendants provide do not include premium wages for missed meal
17   or rest periods.
18            121.    Defendants have also failed to maintain records of hours worked by Plaintiffs and
19   Class members are required under Cal. Lab. Code §1174(d).
20            122.    Defendants are liable to Plaintiffs and the Class members for damages and/or civil
21   penalties, under Cal. Lab. Code §§ 226(e) and 1174.5. Furthermore, Plaintiffs and Class members
22   are entitled to an award of attorneys’ fees and costs as set forth below, pursuant to Cal. Lab. Code
23   § 226(e). Plaintiffs and Class members are also entitled to injunctive relief requiring Defendants to
24   comply with Cal. Lab. Code §§ 226(a) and 1174(d).
25            123.    Wherefore, Plaintiffs and the Class request relief as hereinafter provided.
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 1                                      SIXTH CAUSE OF ACTION
 2                        Failure to Reimburse for Necessary Business Expenses
 3                                   Pursuant to Cal. Lab. Code § 2802
 4                                        (On Behalf of the Class)
 5          124.    Plaintiffs reallege and incorporate the foregoing paragraphs as though fully set forth
 6   herein.
 7          125.    Defendants fail to provide Plaintiffs and Class members reimbursement for all
 8   necessary expenditures or losses incurred by Plaintiffs and Class members in direct consequence of
 9   the discharge of their duties, or as a result of their obedience to the directions of Defendants.
10          126.    Cal. Lab. Code § 2802 provides:
11          An employer shall indemnify his or her employee for all necessary expenditures or
            losses incurred by the employee in direct consequence of the discharge of his or her
12          duties, or of his or her obedience to the directions of the employer, even though
            unlawful, unless the employee, at the time of obeying the directions believed them to
13          be unlawful. … For the purposes of this section, the term “necessary expenditures or
            losses” shall include all reasonable costs, including, but not limited to, attorney’s fees
14          incurred by the employee enforcing the rights granted by this section.

15          127.    Defendants require Plaintiffs and Class members to use their own personal cell
16   phones to maintain work-related communications with clients, co-workers, and supervisors, as well
17   as their own personal computers and home internet data to attend online trainings and conferences.
18   Defendants fail to reimburse Plaintiffs and Class members for such “out-of-pocket” business
19   expenses in violation of Cal. Lab. Code § 2802.
20          128.    Plaintiffs and Class members are entitled to recover from Defendants their business-
21   related expenses and costs in the course and scope of their employment, plus interest.
22          129.    Wherefore, Plaintiffs and Class members request relief as hereinafter provided.
23                                    SEVENTH CAUSE OF ACTION
24                                         Waiting Time Penalties
25                                 Pursuant to Cal. Lab. Code §§ 201-203
26                                        (On Behalf of the Class)
27          130.    Plaintiffs reallege and incorporate the foregoing paragraphs as though fully set forth
28   herein.
                                                        26
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 1          131.    Defendants do not provide Class Members with their wages when due under
 2   California law after their employment with Defendants ends.
 3          132.    Cal. Lab. Code § 201 provides:
 4          If an employer discharges an employee, the wages earned and unpaid at the time of
            discharge are due and payable immediately.
 5

 6          133.    Cal. Lab. Code § 202 provides:
 7          If an employee not having a written contract for a definite period quits his or her
            employment, his or her wages shall become due and payable not later than 72 hours
 8          thereafter, unless the employee has given 72 hours previous notice of his or her
            intention to quit, in which case the employee is entitled to his or her wages at the time
 9          of quitting.

10          134.    Cal. Lab. Code § 203 provides, in relevant part:
11          If an employer willfully fails to pay, without abatement or reduction, in accordance
            with Sections 201, 201.5, 202, and 205.5, any wages of an employee who is discharged
12          or who quits, the wages of the employee shall continue as a penalty from the due date
            thereof at the same rate until paid or until an action therefor is commenced; but the
13          wages shall not continue for more than 30 days.

14          135.    Plaintiffs and some of the Class members left their employment with Defendants
15   during the statutory period, at which time Defendants owed them unpaid wages. These earned, but
16   unpaid, wages derive from time spent working for the benefit of Defendants off-the-clock and
17   during missed or interrupted meal and rest periods.
18          136.    Defendants willfully refused and continue to refuse to pay Plaintiffs and Class
19   members all the wages that are due and owing to them for the work performed and the resulting
20   premium payments for missed or interrupted meal and rest periods upon the end of their
21   employment, as well as overtime compensation and missed meal premiums that did not correctly
22   factor in Plaintiffs and Class members’ regular rate of pay. As a result of Defendants’ actions,
23   Plaintiffs and Class Members have suffered and continue to suffer substantial losses, including lost
24   earnings, and interest.
25          137.    Defendants’ willful failure to pay Plaintiffs and Class members the wages due and
26   owing them constitutes a violation of Cal. Lab. Code §§ 201-202. As a result, Defendants are liable
27   to Plaintiffs and proposed Class members for all penalties owing pursuant to Cal. Lab. Code §§
28   201-203.
                                                       27
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 1          138.    In addition, addition, Cal. Lab. Code § 203 provides that an employee’s wages will
 2   continue as a penalty up to thirty days from the time the wages were due. Therefore, Plaintiffs and
 3   Class members are entitled to penalties pursuant to Cal. Lab. Code § 203, plus interest.
 4          139.    Wherefore, Plaintiffs and Class members request relief as hereinafter provided.
 5                                     EIGHTH CAUSE OF ACTION
 6                         Violation of Cal. Bus. & Prof. Code §§ 17200, et seq.
 7                                        (On Behalf of the Class)
 8          140.    Plaintiffs reallege and incorporates the foregoing paragraphs as though fully set forth
 9   herein.
10          141.    The UCL prohibits unfair competition in the form of any unlawful, unfair, or
11   fraudulent business acts or practices.
12          142.    Cal. Bus. & Prof. Code § 17204 allows a person injured by the unfair business acts
13   or practices to prosecute a civil action for violation of the UCL.
14          143.    Cal. Lab. Code § 90.5(a) states it is the public policy of California to vigorously
15   enforce minimum labor standards in order to ensure employees are not required to work under
16   substandard and unlawful conditions, and to protect employers who comply with the law from those
17   who attempt to gain competitive advantage at the expense of their workers by failing to comply
18   with minimum labor standards.
19          144.    Beginning at an exact date unknown to Plaintiffs, but at least since the date four years
20   prior to the filing of this lawsuit, Defendants have committed acts of unfair competition as defined
21   by the UCL, by engaging in the unlawful, unfair, and fraudulent business acts and practices
22   described in this Complaint, including, but not limited to:
23                  a. violations of Cal. Lab. Code § 1194 and IWC Wage Orders 7-2001 pertaining to
24                      payment of wages, including minimum wage, for all hours worked;
25                  b. violations of Cal. Lab. Code § 510 and IWC Wage Orders 7-2001 pertaining to
26                      overtime;
27                  c. violations of Cal. Lab. Code §§ 226.7 and 512 and Wage Orders 7-2001
28                      pertaining to meal and rest periods;
                                                       28
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 1                 d. violations of Cal. Lab. Code § 226 regarding accurate, timely itemized wage
 2                     statements;
 3                 e. violations of Cal. Lab. Code § 2802 pertaining to reimbursement of business
 4                     expenditures; and
 5                 f. violations of Cal. Lab. Code §§ 201-203 pertaining to payment of all wages owed
 6                     during employment and following separation from employment.
 7         145.    The violations of these laws and regulations, as well as of the fundamental California
 8   public policies protecting wages, serve as unlawful predicate acts and practices for purposes of Cal.
 9   Bus. & Prof. Code §§ 17200, et seq.
10         146.    The acts and practices described above constitute unfair, unlawful, and fraudulent
11   business practices, and unfair competition, within the meaning of Cal. Bus. & Prof. Code §§ 17200,
12   et seq. Among other things, the acts and practices have taken from Plaintiffs and the Class members
13   wages rightfully earned by them, while enabling Defendants to gain an unfair competitive
14   advantage over law-abiding employers and competitors.
15         147.    Cal. Bus. & Prof. Code § 17203 provides that a court may make such orders or
16   judgments as may be necessary to prevent the use or employment by any person of any practice
17   which constitutes unfair competition.
18         148.    As a direct and proximate result of the aforementioned acts and practices, Plaintiffs
19   and Class members have suffered a loss of money and property, in the form of unpaid wages, which
20   are due and payable.
21         149.    Cal. Bus. & Prof. Code § 17203 provides that the Court may restore to any person in
22   interest any money or property which may have been acquired by means of such unfair competition.
23   Plaintiffs and Class members are entitled to restitution pursuant to Cal. Bus. & Prof. Code § 17203
24   for all wages and payments unlawfully withheld from employees during the four-year period prior
25   to the filing of this Complaint. Plaintiffs’ success in this action will enforce important rights
26   affecting the public interest and, in that regard, Plaintiffs sue on behalf of themselves as well as
27   others similarly situated. Plaintiffs and Class members seek and are entitled to unpaid wages,
28   declaratory and injunctive relief, and all other equitable remedies owing to them.
                                                      29
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 1         150.    Plaintiffs herein take upon themselves enforcement of these laws and lawful claims.
 2         151.    There is a financial burden involved in pursuing this action, the action is seeking to
 3   vindicate a public right, and it would be against the interests of justice to penalize Plaintiffs and
 4   Class members by forcing them to pay attorneys’ fees from any recovery thereof. Attorneys’ fees
 5   are appropriate pursuant to Cal. Code Civ. Proc. § 1021.5 and otherwise.
 6         152.    Wherefore, Plaintiffs and the Class request relief as hereinafter provided.
 7                                       PRAYER FOR RELIEF
 8         WHEREFORE, Plaintiffs, on behalf of the Class and Collective members, request the
 9   following relief:
10         1.      For an order certifying that the First Cause of Action in this Complaint may be
11                 maintained as a collective action pursuant to 29 U.S.C. § 216(b) and that prompt
12                 notice of this action be issued to potential members of the Collective, apprising them
13                 of the pendency of this action, and permitting them to assert their FLSA claims;
14         2.      Designation of Plaintiffs as Representatives of the Collective;
15         3.      For an order equitably tolling the statute of limitations for the potential members of
16                 the Collective;
17         4.      For an order certifying the Second to Eighth Cause of Actions in this Complaint as a
18                 class action;
19         5.      Designation of Plaintiffs as Class Representatives and their counsel as Class Counsel;
20         6.      Damages and restitution according to proof at trial for all unpaid wages and other
21                 injuries, as provided by the FLSA, Cal. Lab. Code, and Cal. Bus. & Prof. Code;
22         7.      For a declaratory judgment that Defendants violated the FLSA, Cal. Lab. Code,
23                 California law, and public policy as alleged herein;
24         8.      For a declaratory judgment that Defendants violated Cal. Bus. & Prof. Code §§
25                 17200, et seq. as a result of the aforementioned violations of the Cal. Lab. Code;
26         9.      For an equitable accounting to identify, locate, and restore to all current and former
27                 employees the wages they are due, with interest thereon;
28         10.     For an equitable accounting to identify, locate, and restore to all current and former
                                                      30
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 1                employees the wages they are due, with interest thereon;
 2         11.    For an order awarding Plaintiffs and putative Class and Collective members
 3                compensatory damages, including gratuities owed, lost wages, earnings, liquidated
 4                damages, and other employee benefits, restitution, recovery of all money/property,
 5                actual damages, and all other sums of money owed to Plaintiffs and putative Class
 6                and Collective members, together with interest on these amounts according to proof;
 7         12.    For an order awarding Plaintiffs and putative Class and Collective members penalties
 8                pursuant to the FLSA, Cal. Lab. Code, and the laws of the State of California, with
 9                interest thereon;
10         13.    For an order awarding reasonable attorneys’ fees as provided by the FLSA, Cal. Lab.
11                Code, Cal. Code Civ. Proc. § 1021.5, the laws of the State of California, and/or other
12                applicable law;
13         14.    For all costs of suit;
14         15.    For interest on any penalties awarded, as provided by applicable law; and
15         16.    For such other and further relief as this Court deems just and proper.
16

17   Dated: February 21, 2023                   Respectfully Submitted,
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19
                                                Carolyn H. Cottrell
20                                              Ori Edelstein
                                                Eugene Zinovyev
21                                              SCHNEIDER WALLACE
                                                COTTRELL KONECKY LLP
22
                                                Attorneys for Plaintiffs and the Class and Collective
23

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 1                                    DEMAND FOR JURY TRIAL
 2          Plaintiffs hereby demand a jury trial on all claims and issues for which Plaintiffs are entitled
 3   to a jury.
 4
     Dated: February 21, 2023                      Respectfully Submitted,
 5

 6

 7                                                 Carolyn H. Cottrell
                                                   Ori Edelstein
 8                                                 Eugene Zinovyev
                                                   SCHNEIDER WALLACE
 9                                                 COTTRELL KONECKY LLP
10                                                 Attorneys for Plaintiffs and the Class and Collective
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